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                                          AMCO INSURANCE COMPANY
                                      6
                                      7
                                      8                             UNITED STATES DISTRICT COURT
                                      9                           CENTRAL DISTRICT OF CALIFORNIA
                                     10   CROWN VALLEY HOLDINGS, LLC,                      )   CASE NO. 8:22-cv-01091-DFM
                                          a Delaware Limited Liability Company,            )   Magistrate Judge: Hon. Douglas F.
                                     11                                                    )   McCormick
Gordon Rees Scully Mansukhani, LLP




                                                                         Plaintiffs,       )
                                     12                                                        [Orange County Superior Court
   101 W. Broadway, Suite 2000




                                                                                           )
                                                    v.                                     )   Case No. 30-2022-01257143-CU-
       San Diego, CA 92101




                                     13                                                        BC-WJC]
                                          AMCO INSURANCE COMPANY, an                       )
                                     14   Iowa Corporation; DOES 1 - 50,                   )   DEFENDANT’S AMENDED
                                          Inclusive,                                       )   NOTICE OF REMOVAL OF
                                     15                                                    )   CIVIL ACTION AND NOTICE
                                                                         Defendants.       )   OF ERRATA
                                     16                                                    )   [28 U.S.C. §§ 1332 (a), 1441 (a),
                                                                                           )   1446 and 1653]
                                     17                                                    )
                                                                                           )
                                     18                                                    )   Complaint Filed: April 29, 2022
                                     19
                                     20   TO THE JUDGES AND CLERK OF THE UNITED STATES DISTRICT COURT
                                     21   FOR THE CENTRAL DISTRICT OF CALIFORNIA:
                                     22            PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. sections 1332(a),
                                     23   1441(a), 1446 and 1653, Defendant AMCO Insurance Company (“AMCO” or
                                     24   “Defendant”) files this Amended Notice of Removal of Civil Action and Notice of
                                     25   Errata1 to correct the inadvertent inclusion of defective allegations regarding
                                     26   citizenship of AMCO as having its “headquarters” in the State of Ohio. See e.g. Pool
                                     27   v. F. Hoffman-La Roche, Ltd., 386 F.Supp.3d 1202, 1211-1212 (N.D. Cal. 2019); 28
                                     28   1
                                              The original Notice of Removal of Civil Action was filed on June 1, 2022 [Dkt. 1].
                                                                                          -1-
                                                  DEFENDANT’S AMENDED NOTICE OF REMOVAL OF CIVIL ACTION & ERRATA
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                                      1   U.S.C. § 1653. To be clear, this Court has original jurisdiction of this action under
                                      2   28 U.S.C. section 1332(a) because there is complete diversity of citizenship between
                                      3   Plaintiff Crown Valley Holdings, LLC (“Crown Valley” or “Plaintiff”) on the one
                                      4   hand, and AMCO on the other, and the amount in controversy exceeds the sum of
                                      5   $75,000.00, exclusive of interests and costs.
                                      6          In support of this Amended Notice of Removal and Notice of Errata, AMCO
                                      7   further states:
                                      8          1.       Crown Valley commenced this action against AMCO on April 29,
                                      9   2022 by filing a complaint in the Superior Court of the State of California for the
                                     10   County of Orange (“Complaint”). Upon the filing of the Complaint, the case was
                                     11   assigned case number 30-2022-01257143-CU-BC-WJC. A true and correct copy of
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                                     12   the Complaint was filed with the original Notice of Removal as Exhibit 1 [Dkt. 1-
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                                     13   1, at p. 2-18]. The Complaint and a Summons on the Complaint were first served
                                     14   upon AMCO on May 2, 2022. A true and correct copy of the Summons on the
                                     15   Complaint and proof of service was filed with the original Notice of Removal as
                                     16   Exhibit 2 [Dkt. 1-1, at p. 21].
                                     17          2.      As noted above, AMCO timely filed its Notice of Removal of Civil
                                     18   Action on June 1, 2022. [Dkt. 1]. As a result of meet and confer discussions with
                                     19   Plaintiff’s counsel regarding various issues, including AMCO’s anticipated motion
                                     20   to dismiss certain claims and causes of action in Plaintiff’s Complaint and Plaintiff’s
                                     21   consideration of filing a motion to remand,2 AMCO’s counsel reviewed its original
                                     22   notice of removal filing and records of the California Secretary of State. In doing
                                     23   so, counsel for AMCO discovered that, contrary to the company profile information
                                     24   contained on the California Department of Insurance’s website (This web page was
                                     25   filed with the original Notice of Removal as Exhibit 4 to AMCO’s original Notice
                                     26
                                     27   2
                                           During these discussions, Plaintiff’s counsel suggested there may be a limited partner of a limited
                                     28   partnership who is an entity member of Plaintiff limited liability company who may share
                                          citizenship with AMCO but has not, to date, provided any evidence to support that contention.
                                                                                          -2-
                                                 DEFENDANT’S AMENDED NOTICE OF REMOVAL OF CIVIL ACTION & ERRATA
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                                      1   of Removal [Dkt. 1-1, pp.25-26])3, AMCO’s certified Statement of Information on
                                      2   file with the California Secretary of State (the government entity that bears the
                                      3   responsibility of overseeing business entities in the State of California) identifies
                                      4   AMCO’s “Street Address of Principal Executive Office” as being at the same
                                      5   address identified in AMCO’s Notice of Removal – 1100 Locust Street, Des Moines,
                                      6   Iowa 50391.4 A true and correct copy of the Statement of Information for AMCO
                                      7   filed with the California Secretary of State is attached hereto Exhibit 6.
                                      8          3.     In the original Notice of Removal [Dkt. 1], counsel for AMCO
                                      9   erroneously referenced an address in Columbus, Ohio5 listed on the California
                                     10   Department of Insurance’s website as reflecting AMCO’s “headquarters” and
                                     11   otherwise erroneously referenced Ohio in AMCO’s Notice of Removal. These
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                                     12   references were in error as evidenced by AMCO’s certified Statement of Information
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                                     13   on file with the California Secretary of State which confirms that AMCO’s Principal
                                     14   Executive Office is located in Des Moines, Iowa – not Ohio.
                                     15          4.     Upon discovery of the above-referenced error in its Notice of Removal,
                                     16   AMCO (through undersigned counsel) promptly notified Plaintiff’s counsel herein
                                     17   of the error and prepared this Amended Notice of Removal and Notice of Errata to
                                     18   avoid any confusion or cause any undue delay in this matter.
                                     19          5.     AMCO is informed and believes that it is the only defendant that has
                                     20   been served with the summons and complaint in this action. Defendants designated
                                     21   as Does 1 through 10 are fictitious defendants, are not parties to this action, have not
                                     22   been served, and are to be disregarded for purposes of this removal. See 28 U.S.C.
                                     23   § 1441(a).
                                     24          6.     Crown Valley is and was at the time of the filing of this action and this
                                     25   Notice of Removal a limited liability company organized in Delaware. (Complaint,
                                     26
                                          3
                                            Because it does not accurately reflect the address of AMCO’s Principal Executive Office, AMCO
                                     27   hereby withdraws Exhibit 4.
                                          4
                                     28     See Dkt. 1, at p. 3, lines 22-23.
                                          5
                                            Dkt. 1, at p. 3, line 23-24.
                                                                                            -3-
                                                 DEFENDANT’S AMENDED NOTICE OF REMOVAL OF CIVIL ACTION & ERRATA
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                                      1   [Dkt. 1-1, p.7, ¶20, line 15].); see also Exhibit 3 – Crown Valley’s 2020 Registration
                                      2   (Form LLC-12) on file with the California Secretary of State [Dkt. 1-1, p. 23].)
                                      3   Crown Valley alleges that it is qualified to do business in California and conducts
                                      4   business in Orange County, California. (Complaint, [Dkt. 1-1, p.7, ¶20, line 15].)
                                      5   Consistent with Tosco Corp. v. Communities for a Better Environment, 236 F.3d 495
                                      6   (9th Cir. 2001), and Industrial Techtonics, Inc. v. Aero Alloy, 912 F.2d 1090 (9th
                                      7   Cir. 1990), the “substantial predominance” of Crown Valley’s activities occur in
                                      8   either the State of Delaware or the State of California. Given that Crown Valley is
                                      9   a limited liability company organized in Delaware and has its principal place(s) of
                                     10   business in either California, Delaware or possibly Connecticut (see Paragraph 7
                                     11   below), for purposes of diversity jurisdiction, AMCO is informed and believes that
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                                     12   Crown Valley is not a citizen of Iowa (i.e. AMCO’s state of incorporation and
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                                     13   principal place of business).
                                     14         7.      Crown Valley is a real estate holding company that is registered with
                                     15   the California Secretary of State as a limited liability company organized in the State
                                     16   of Delaware. Its managing member identified in its 2020 Registration Form is WCP
                                     17   Real Estate Fund (II) L.P. with an address in Stamford, Connecticut. (See Exhibit 3
                                     18   – Crown Valley’s 2020 Registration (Form LLC-12) on file with the California
                                     19   Secretary of State [Dkt. 1-1, at p. 23].) This information is consistent with Crown
                                     20   Valley’s Statement of Information Limited Liability Company recently filed with
                                     21   the California Secretary of State on June 8, 2022 (i.e. after AMCO’s Notice of
                                     22   Removal was filed on June 1, 2022). A true and correct copy of Crown Valley’s
                                     23   2022 Statement of Information Limited Liability Company filed with the California
                                     24   Secretary of State is attached hereto as Exhibit 7. Relevant to diversity jurisdiction
                                     25   considerations, a limited liability company is a citizen of every state of which its
                                     26   members are citizens. See e.g. Johnson v. Columbia Props. Anchorage, LP, 437
                                     27   F.3d 894, 899 (9th Cir. 2006) (“[A] partnership is a citizen of all of the states in
                                     28   which its partners are citizens … [L]ike a partnership, an LLC is a citizen of every
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                                      1   state of which its owners/members are citizens.”). Accordingly, for purposes of
                                      2   diversity jurisdiction in this matter and based on the available information, AMCO
                                      3   is informed and believes that none of the managers or members of Crown Valley are
                                      4   citizens of Iowa (AMCO’s state of incorporation and principal place of business).
                                      5         8.      AMCO is and was at the time of the filing of this action an Iowa
                                      6   corporation incorporated under the laws of the State of Iowa. (Complaint, [Dkt. 1-1,
                                      7   p.7, ¶21, line 18]; Exhibit 6.) AMCO’s principal place of business is located at 1100
                                      8   Locust Street, Des Moines, IA 50391. (See Exhibit 6.) For the purposes of diversity
                                      9   jurisdiction, a corporation is a citizen of any state where it is incorporated and of the
                                     10   state where it has its principal place of business. See 28 U.S.C. § 1332(c). Consistent
                                     11   with Tosco Corp. v. Communities for a Better Environment, 236 F.3d 495 (9th Cir.
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                                     12   2001), and Industrial Techtonics, Inc. v. Aero Alloy, 912 F.2d 1090 (9th Cir. 1990),
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                                     13   the “substantial predominance” of AMCO’s business activities occur in the State of
                                     14   Iowa – not California, Delaware or Connecticut. Therefore, for purposes of diversity
                                     15   jurisdiction, AMCO is not a citizen of the same state as Crown Valley or any of its
                                     16   managers or members based on information filed by Crown Valley with the
                                     17   California Secretary of State.
                                     18         9.     Pursuant to 28 U.S.C. section 1441(b), diversity suits are removable “if
                                     19   none of the parties in interest properly joined and served as defendants is a citizen
                                     20   of the State in which such action is brought.” Because AMCO is incorporated in
                                     21   Iowa and its principal place of business is in Iowa, it is not a citizen of either
                                     22   Delaware, California or Connecticut.
                                     23         10.    Plaintiff alleges in the Complaint that it has suffered damages in excess
                                     24   of $3 million in connection with the Underlying Action. [Complaint, Dkt.1-1, p.14,
                                     25   ¶ 53, line 14.] The amount in controversy in this action is therefore in excess of
                                     26   $75,000.00, exclusive of interests and costs.
                                     27         11.    This action is, therefore, a civil action of which this Court has original
                                     28   jurisdiction under 28 U.S.C. section 1332(a), and one which may be removed by
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                                               DEFENDANT’S AMENDED NOTICE OF REMOVAL OF CIVIL ACTION & ERRATA
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                                      1   AMCO to this Court pursuant to 28 U.S.C. sections 1441 and 1446, in that it is a
                                      2   civil action wherein the matter in controversy exceeds $75,000.00 (exclusive of
                                      3   interest and costs) and is between citizens of different states.
                                      4         12.    AMCO’s Notice of Removal was timely filed pursuant to 28 U.S.C.
                                      5   section 1446(b)(3), which provides that, “if the case stated by the initial pleading is
                                      6   not removable, a notice of removal may be filed within thirty days after receipt by
                                      7   the defendant, through service or otherwise, of a copy of an amended pleading,
                                      8   motion, order or other paper from which it may first be ascertained that the case is
                                      9   one which is or has become removable.” AMCO’s Notice of Removal was filed
                                     10   within thirty days of service of the Summons and Complaint upon AMCO’s
                                     11   registered agent for service of process. AMCO’s Amended Notice of Removal and
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                                     12   Notice of Errata is timely filed pursuant to Rule 15 of the Federal Rules of Civil
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                                     13   Procedure and 28 U.S.C. section 1653 which provides that a defendant may amend
                                     14   the Notice of Removal after the thirty-day window has closed to correct a defective
                                     15   allegation of jurisdiction.
                                     16         13.    Pursuant to 28 U.S.C. section 1446(d), a copy of this Amended Notice
                                     17   of Removal and Notice of Errata is being filed with the Clerk of the Orange County
                                     18   Superior Court.
                                     19         14.    Pursuant to 28 U.S.C. section 1446(d), AMCO is providing this
                                     20   Amended Notice of Removal and Notice of Errata to Crown Valley.
                                     21         15.    On May 2, 2022, in addition to the Complaint and Summons, Crown
                                     22   Valley also served AMCO with a Civil Case Cover Sheet, a Notice of Hearing –Case
                                     23   Management Conference, Judicial Arbitration Program Guidelines and other
                                     24   miscellaneous court forms filed in the Orange County Superior Court action. True
                                     25   and correct copies of these documents were collectively filed with the original
                                     26   Notice of Removal as Exhibit 5 [Dkt.1-1, p. 28-52].
                                     27   ///
                                     28   ///
                                                                           -6-
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                                      1         16.   Other than as amended and corrected herein, AMCO relies on its
                                      2   original Notice of Removal and incorporates it herein by reference.
                                      3   Dated: June 17, 2022              GORDON REES SCULLY MANSUKHANI, LLP
                                      4                                     By: /s/ Michelle R. Bernard
                                                                                Michelle R. Bernard
                                      5
                                                                                Attorneys for Defendant
                                      6                                         AMCO INSURANCE COMPANY
                                      7
                                      8
                                      9                            CERTIFICATE OF SERVICE
                                     10         I hereby certify that on June 17, 2022, a true and correct copy of the foregoing
                                     11   document was filed electronically with the Clerk of the Court using the Court’s
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                                     12   CM/ECF electronic filing system, which automatically generates a Notice of
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       San Diego, CA 92101




                                     13   Electronic Filing (“NEF”) at the time said document is filed to all CM/ECF Users
                                     14   who have appeared in this case.
                                     15                                          /s/ Michelle R. Bernard
                                                                                 Michel R. Bernard
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